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                                       No. 25-1640

                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                         Solutions in Hometown Connections et al.,
                                                          Plaintiffs-Appellants,

                                              v.

                                    Kristi Noem et al.,
                                                          Defendants-Appellees.

                On appeal from a denial of a preliminary injunction from the
                 United States District Court for the District of Maryland
                       Case No. 25-cv-885, Hon. Lydia K. Griggsby


                             Corrected Brief for Appellants


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                        CORPORATE DISCLOSURE STATEMENT

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Solutions in Hometown Connections, who is Plaintiff-Appellant,
        makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?   YES    ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Central American Resource Center, who is Plaintiff-Appellant,
        makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ


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        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Coalition for Humane Immigrant Rights, who is Plaintiff-Appellant,
        makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES    ¨     NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Community Center for Immigrants, Inc., who is Plaintiff-Appellant,
        makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ



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        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ


           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, English Skills Learning Center, who is Plaintiff-Appellant, makes
        the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Michigan Organizing Project, d/b/a Michigan United, who is Plaintiff-
        Appellant, makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
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        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Hebrew Immigrant Aid Society and Council Migration Service of
        Philadelphia, d/b/a HIAS Pennsylvania, who is Plaintiff-Appellant, makes
        the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ




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           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Immigrant Law Center of Minnesota, who is Plaintiff-Appellant,
        makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

            Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Instituto Del Progreso Latino, who is Plaintiff-Appellant, makes the
        following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ

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        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ

           Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule
        26.1, Massachusetts Immigrant and Refugee Advocacy Coalition, who is
        Plaintiff-Appellant, makes the following disclosure:

        1. Is party a publicly held corporation or other publicly held entity?
           YES     ¨     NO     þ
        2. Does party/amicus have any parent corporations?
           YES    ¨     NO   þ
        3. Is 10% or more of the stock of a party/amicus owned by a publicly held
           corporation or other publicly held entity? YES ¨     NO    þ
        4. Is there any other publicly held corporation or other publicly held
           entity that has a direct financial interest in the outcome of the
           litigation? YES     ¨      NO    þ
        5. Is party a trade association?    YES   ¨      NO   þ
        6. Does this case arise out of a bankruptcy proceeding?
           YES     ¨     NO    þ
        7. Is this a criminal case in which there was an organization victim?
           YES      ¨     NO    þ




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        Consolidated Appropriations Act of 2023,
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        Further Consolidated Appropriations Act of 2024,
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        Guidance for Federal Financial Assistance,
             89 Fed. Reg. 30046 (Apr. 22, 2024) ............................................... 45, 46

        Guidance for Grants and Agreements,
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        Other Authorities

        Grant Program Impact, U.S. Citizenship and Immigr. Servs.,
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                             GLOSSARY OF ACRONYMS

        Plaintiffs-Appellants

        • CARECEN: Central American Resource Center

        • CCI: Community Center for Immigrants, Inc.

        • CHIRLA: Coalition for Humane Immigrant Rights

        • ESLC: English Skills Learning Center

        • HIAS PA: Hebrew Immigrant Aid Society and Council Migration Service
            of Philadelphia

        • IDPL: Instituto del Progreso Latino

        • ILCM: Immigrant Law Center of Minnesota

        • MIRA: Massachusetts Immigrant and Refugee Advocacy Coalition

        • SHC: Solutions in Hometown Connections

        Defendants-Appellees

        • DHS: Department of Homeland Security

        • USCIS: United States Citizenship and Immigration Services

        Miscellaneous

        • CIGP: Citizenship and Integration Grant Program

        • CARING: Community and Regional Integration Network Grants

        • CINAS: Citizenship Instruction and Naturalization Application Services
            Grants

        • LPRs: Lawful Permanent Residents




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                                    INTRODUCTION

           For years, Congress has expressly funded the Citizenship and

        Integration Grant Program, a program established and administered by the

        Department of Homeland Security to help lawful permanent residents

        through the intensive process of applying for citizenship. Notwithstanding

        this congressional direction or that the current grants are mid-cycle, earlier

        this spring, DHS abruptly froze and then terminated the entire program.

        Nonprofit-Appellants, entities that received CIGP grants, turned to the

        district court, claiming that the decision was unconstitutional, ultra vires,

        and violated the Administrative Procedure Act. They sought preliminary

        equitable relief halting the termination so they could continue serving their

        clients.

           DHS barely defended its actions on the merits, instead insisting that the

        district court was powerless to stop it from terminating a congressionally

        funded program. The district court agreed—holding that it likely lacked

        jurisdiction to consider the Nonprofits’ claims. Specifically, the court

        concluded that the Nonprofits’ claims for equitable relief were really

        requests for money damages, so the Tucker Act stripped it of jurisdiction.

        The court also mischaracterized the Nonprofits’ claims as grievances with

        DHS’s operation and management of CIGP, not reviewable agency action.

        Both conclusions were wrong and should be reversed.


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           This case arises at a time when courts are determining the contours of

        the interaction between the Tucker Act and the APA, a task ostensibly

        complicated by the Supreme Court’s stay order in Department of Education

        v. California, 145 S.Ct. 966 (2025). But one paragraph of passing analysis

        in an emergency stay order did not wipe out four decades of relevant

        caselaw, nor did it purport to. Under longstanding precedents, the analysis

        is straightforward: If a plaintiff seeks money damages from the

        Government—specific sums to compensate for harms suffered—the case

        must be heard by the Court of Federal Claims. But if a plaintiff seeks

        forward-looking equitable relief, the district court retains jurisdiction—

        even if equitable relief results in the payment of money. And because the

        Court of Federal Claims cannot exercise jurisdiction over equitable

        constitutional and ultra vires claims, those claims must remain with the

        district court, lest plaintiffs lose any forum altogether.

           At bottom, DHS’s position is that any time a federal grantee is wronged,

        only the Court of Federal Claims has jurisdiction to hear ensuing disputes.

        So, according to DHS, if grants are terminated for racially discriminatory

        reasons or First Amendment protected activity, grantees can receive their

        past-due reimbursements and nothing else. And even when those decisions

        are made en masse, review must be piecemeal. Put simply, DHS argues that

        when it violates clear congressional and even constitutional commands,


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        relief is limited to an order from the Court of Federal Claims to pay past-

        due sums and district courts are forbidden to exercise equitable authority

        (both inherent and under the APA) to enjoin the illegal activity. That cannot

        be.

                             JURISDICTIONAL STATEMENT

              The district court has jurisdiction over this case because it raises federal

        questions. 28 U.S.C. § 1331. Specifically, the Nonprofits brought claims

        under the APA, 5 U.S.C. § 702, and under the court’s equitable jurisdiction

        over constitutional and ultra vires claims challenging actions of federal

        officials, Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015).

              Because the Nonprofits appeal the denial of a preliminary injunction,

        this Court has jurisdiction under 28 U.S.C. § 1292(a)(1).

                                     ISSUES PRESENTED

              I. The APA gives district courts jurisdiction to hear claims for “relief

        other than money damages.” 5 U.S.C. § 702. Under the Tucker Act, the

        Court of Federal Claims has jurisdiction to hear “express or implied

        contract” claims against the government for money damages. See 28 U.S.C.

        § 1491(a). The Court of Federal Claims has no jurisdiction to hear

        constitutional and ultra vires claims that seek equitable relief. When DHS

        terminated an entire grant program mid-grant, the Nonprofits brought

        APA, separation-of-powers, and ultra vires claims seeking only equitable


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        relief. The nonprofits do not seek—nor could they receive—money damages.

        The first issue presented is whether the district court erred in concluding

        that the Tucker Act likely stripped jurisdiction over all the Nonprofits’

        claims.

           II. The APA allows district courts to consider challenges to agency

        actions, see 5 U.S.C. § 702, which include agency orders and denials of relief,

        5 U.S.C. § 551(13). “Relief” includes a “grant of money.” Id. § 551(11)(A). The

        APA does not allow claims of generalized mismanagement or policy

        grievances. The Nonprofits challenge specific DHS orders terminating an

        entire grant program and the resulting denial of grant funds. The second

        issue presented is whether the district court erred in concluding that it

        likely lacked jurisdiction to consider the Nonprofits’ APA claims because

        they are “a wholesale, programmatic challenge to the Government’s

        operation and management” of the grant program. JA748.

           III. The district court denied the Nonprofits’ motion for preliminary

        relief on the jurisdictional issues alone. DHS forfeited one of the merits

        issues. And the Nonprofits showed how they are irreparably harmed (a

        point with which the district court indicated agreement) and why the

        balance of the equities and public interest strongly support preliminary

        relief. The third issue presented is whether this Court should grant the

        Nonprofits’ motion.


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                             STATEMENT OF THE CASE

               A. DHS solicits grant participation and the Nonprofits
                  receive CIGP grants.

           In 2009, USCIS—a component of DHS—created the Citizenship and

        Integration Grant Program to provide “English language and civics

        instruction, legal assistance with naturalization applications, and …

        community space for immigrant [integration]” to qualified lawful

        permanent residents (LPRs).1 CIGP’s goal “is to expand the availability of

        high-quality citizenship preparation services for [LPRs] across the nation

        and to provide opportunities for immigrants to gain the knowledge and

        skills necessary to integrate into the fabric of American society.” JA60.

        CIGP funding includes Citizenship Instruction and Naturalization

        Application Services (CINAS) grants, which help organizations offer

        citizenship instruction and assistance filing applications for naturalization,

        and Community and Regional Integration Network (CARING) Grants,

        which are similar but focused on helping the most-vulnerable immigrants,

        including refugees, asylees, and trafficking victims. JA115.




           1   Grant Program Impact, U.S. Citizenship and Immigr. Servs.,
        https://perma.cc/WZM4-EGLF. It appears that DHS replaced “integration”
        with “assimilation” when discussing the CIGP. The Nonprofits are unaware
        when, or why, that change was made.

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           Appellants are ten nonprofit organizations that responded to DHS’s

        invitation to apply for, and were awarded, CIGP grants. JA31-32. The

        Nonprofits built out two-year programs to provide start-to-finish

        naturalization services to LPRs, including citizenship and English language

        classes, JA502, legal representation, JA546, assistance with naturalization

        applications, JA557, and naturalization-interview preparation, JA511.

        They hired dedicated staff, JA542-543, developed educational materials,

        JA531, and some subcontracted with third parties, JA557, all to provide

        high-quality citizenship and naturalization services. The Nonprofits serve

        a variety of communities, including several that have been historically

        underserved—requiring the Nonprofits to invest time and other resources

        to establish trust and build their reputations as service providers. See, e.g.,

        JA518-519; JA544. For some of the Nonprofits, there are no other

        organizations performing these critical services in their locations. See

        JA525; JA544. Some of the Nonprofits have been consistent CIGP grant

        recipients. See, e.g., JA532. And DHS has never indicated that any of the

        Nonprofits failed to carry out their responsibilities under their grants.

              B. DHS freezes CIGP funding, leaving the Nonprofits
                 stranded mid-grant.

           In January, DHS Secretary Kristi Noem issued a memorandum freezing

        “all Department grant disbursements” to nonprofits if the grants “touch in



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        any way on immigration.” JA229. Secretary Noem gave three reasons:

        (1) concerns that the grants may be “encouraging or inducing illegal

        immigration” or the “illegal harboring of illegal aliens”; (2) “concerns that

        there may be racially discriminatory language in certain grants”; and

        (3) concerns that the grants “may not be an efficient use of government

        resources.” JA229.

           One week later, USCIS sent the Nonprofits a boilerplate letter stating

        that, following Secretary Noem’s memo, it had frozen their grant funds.

        JA230. The letter stated that USCIS “recognize[d] this will have an impact

        on your organization” but was “unable to provide a timeline on this freeze.”

        JA230. The freeze of the Nonprofits’ CIGP funds immediately created

        serious cash-flow problems, leading some of them to start laying off staff,

        JA514, and limiting or ending classes they had been offering, JA578.

              C. After the Nonprofits challenge the freeze of grant funds,
                 DHS shutters the entire grant program.

           In March, the Nonprofits sued and sought preliminary relief, arguing

        that the Noem Memo and the Freeze Letter violated the APA. See JA727,

        n.1. Two days after the Nonprofits filed their first motion for preliminary

        relief, DHS eliminated CIGP entirely. JA231-232. In a single email sent to

        all CIGP grantees, DHS stated that “effective immediately” the grantees

        were to “end all work.” JA232. The email stated that “DHS has determined



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        that the scope of work performed under this award no longer effectuates the

        program goals and the Department’s priorities.” JA232. The email did not

        state what had changed—why the grant awards “no longer effectuate[d]”

        CIGP’s goals, what the relevant program goals or DHS policies were, or that

        those policies had somehow changed (and if so, how). See JA232.

        Nevertheless, the email ordered the grantees to “cease all federally funded

        work” and stated that any CIGP costs going forward would not be

        reimbursed. JA232.

           Each Nonprofit also received a boilerplate letter informing them that

        DHS would reimburse them for services performed until the termination

        date. See, e.g., JA234. DHS gave the Nonprofits 30 days to submit a request

        for limited closeout costs allowed under 2 C.F.R. § 200.472. JA234.

           The district court denied the Nonprofits’ motion. Op. 20 (ECF 46). The

        court held that the FY2023 Nonprofits were unlikely to succeed on the

        merits of their APA claims because the Tucker Act likely required their

        claims to be brought in the Court of Federal Claims. Id. at 15. Specifically,

        the court relied primarily on the allegations in the complaint—filed before

        DHS dismantled the CIGP—and found that past-due sums for completed

        work were the heart of the dispute. Id. at 16. In response to the Nonprofits’

        arguments that the principal harm was not being able to continue their

        naturalization programs going forward and seek reimbursement in the


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        future, the court concluded that future work and reimbursement were not

        at issue because DHS had, as part of the challenged termination, ordered

        that the Nonprofits cease their grant work. Id. at 19. The district court did

        not decide whether it likely had jurisdiction over the FY2024 plaintiff,

        ILCM. Id. at 21. Instead of pursuing piecemeal litigation, the Nonprofits

        sought and received leave to amend their complaint (which added an

        additional FY2024 grantee) and file a renewed motion on behalf of all

        plaintiffs. JA21-24.

              D. The district court again concludes it likely lacks
                 jurisdiction.

           The Nonprofits’ amended complaint and renewed motion for a

        preliminary injunction or stay under Section 705 of the APA made clear that

        they were challenging the elimination of CIGP and the devastating effect

        that caused for their citizenship and naturalization programs going

        forward. JA20; JA56-57. The Nonprofits explained that the sources of their

        rights were the Constitution, the APA, and various statutes and

        regulations—not the terms of the grant agreements. PI Br. 11 (ECF 53-1).

        The Nonprofits explained that because DHS had stated that it was going to

        reimburse grantees for all past-due sums, the Nonprofits were not seeking

        past-due money damages. See, e.g., JA56-57. They explained that, as a

        result, the Court of Federal Claims could not hear the Nonprofits’ claims.



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        PI Br. 12-13. And they explained that the court independently had

        jurisdiction over the Nonprofits’ separation-of-powers and ultra vires

        claims. PI Br. 14.

           In response, DHS argued that this is a case about money damages. Opp.

        Br. 12 (ECF 63). Without identifying any past-due sums at issue, and

        without acknowledging that DHS had said that it would reimburse for all

        completed work as part of the CIGP dismantling, DHS argued that the

        Nonprofits sought backward-looking relief. Id. So, according to DHS, the

        Tucker Act stripped the district court of jurisdiction—not only over the

        Nonprofits’ APA claims, but their constitutional and ultra vires claims too.

        Id. at 11. DHS also argued that the court did not have jurisdiction under

        the APA because the Nonprofits’ challenge was a “broad programmatic

        attack.” Id. at 16.

           At oral argument, when the Nonprofits explained that DHS did not even

        bother to respond to the Nonprofits’ arbitrary-and-capricious argument

        (thus forfeiting it), the district court noted “the plaintiffs have a very valid

        point.” JA642. And the district court acknowledged that the Nonprofits

        “made [their] point on irreparable harm” and that “there’s a pretty solid

        record on that point.” JA671-672. Nonetheless, the district court denied the

        Nonprofits’ renewed motion. JA712.




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           The court concluded that the Nonprofits were unlikely to succeed on the

        merits for two reasons.

           1. The court held that it likely did not have subject-matter jurisdiction

        over the claims of the FY23 Nonprofits (8 of the 10 plaintiffs). JA743. The

        court applied the two-part test from Megapulse, Inc. v. Lewis, 672 F.2d 959,

        967 (D.C. Cir. 1982), looking to the source of the rights at issue and the relief

        sought to determine whether the “essence” of the claim was contractual. See

        JA743.

           First, the court concluded that the source of the rights for the FY23

        Nonprofits’ APA claims was their grant agreements because the Nonprofits

        “allege and acknowledge” that they were grant recipients and that the loss

        of the grants harmed them. JA744.2 The court then rejected the Nonprofits’

        argument that the source of their legal rights was constitutional, statutory,

        and regulatory. JA744-745. The court reasoned that because the grants

        incorporated the Uniform Guidance regulations, the grants remained the

        source of those rights (even though the grants themselves explained that

        the regulations, not grant terms, control). JA744-745. As to the



           2  Despite applying its conclusion to the FY23 Nonprofits’ “APA,
        separation of powers and ultra vires claims,” the court analyzed only
        whether the APA’s waiver of sovereign immunity precluded jurisdiction. See
        JA743 (“[t]o determine whether this Court has subject-matter jurisdiction
        over the FY 23 Plaintiffs’ APA claims . . . .”).

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        constitutional and statutory rights at issue, the court briefly addressed the

        merits of each argument instead of applying Megapulse or any other

        jurisdictional analysis. See JA744-746.

           Second, the court stated that it was “clear” that the FY23 Nonprofits’

        APA, separation of powers, and ultra vires claims sought relief that was

        “monetary in nature and backward-looking.” JA746. Yet as part of its

        backward-looking analysis, the court highlighted that the Nonprofits

        sought, among other things, “outstanding grant funds obligated to them for

        future grant work.” JA746 (emphasis added). Turning to money damages—

        that is, specific past-due sums to which the Tucker Act might apply—the

        court relied on the very money that the Nonprofits explained was no longer

        at issue: reimbursement for completed work that DHS stated would be paid

        as part of the challenged termination. JA747.

           The court addressed in passing the Nonprofits’ argument that future

        reimbursement for future work was the core of this dispute. The court

        concluded that there would be no future costs because DHS had eliminated

        CIGP (again, the very action the Nonprofits challenged as unlawful). JA747.

        And in a footnote, the court concluded without any explanation that this

        forward-looking challenge “appears to be, at bottom, a request for specific

        performance.” JA747 n.3. The court’s analysis did not address—or even

        mention—Bowen v. Massachusetts, 487 U.S. 879 (1988), or Maine


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        Community Health Options v. United States, 590 U.S. 296 (2020). Nor did

        the court address the Nonprofits’ argument that money damages are

        categorically unavailable under their separation-of-powers and ultra vires

        claims. See PI Br. 14.

           2. The court then determined that it likely did not have jurisdiction over

        the APA claims of any of the Nonprofits because they did not challenge a

        “discrete agency action.” JA747. Without explaining why—and despite the

        Nonprofits’ having made plain that their challenge was to DHS’s

        termination of CIGP—the court concluded that the Nonprofits “mount a

        wholesale, programmatic challenge to the Government’s operation and

        management of the CIGP.” JA748 (emphasis added).

           3. The Court did not explain why it did not have jurisdiction to consider

        the Nonprofits’ separate constitutional and ultra vires claims. For the FY23

        Nonprofits, it stated only: “Given this, the Plaintiffs have also not shown

        that their separation of powers and ultra vires claims provide an

        independent basis for the Court to exercise jurisdiction in this case.” JA746.

        And the Court did not mention the FY24 Nonprofits’ separation-of-powers

        and ultra vires claims at all. Yet it concluded that it likely did not have

        jurisdiction to consider them.




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                              SUMMARY OF ARGUMENT

           I. The district court has jurisdiction over the Nonprofits’ APA,

        constitutional, and ultra vires claims.

           A. The Nonprofits seek equitable relief—an order enjoining DHS from

        eliminating CIGP, a congressionally funded grant program. The requested

        relief would simply allow the Nonprofits to carry out their grant programs

        going forward. The Tucker Act—which requires certain claims for money

        damages against the Government to be brought in the Court of Federal

        Claims—cannot strip the district court’s jurisdiction. The controlling

        question under the Tucker Act is whether a plaintiff seeks (or could receive)

        money damages. The Nonprofits do not seek any money damages. If there

        were any question, the Supreme Court has already held—twice—that the

        APA, not the Tucker Act, applies when plaintiffs seek prospective relief

        outlining an agency’s future responsibilities under a grant program.

           Regardless, the district court must retain jurisdiction over the

        Nonprofits’ separation-of-powers and ultra vires claims. The Court of

        Federal Claims does not have equitable powers so cannot decide a claim

        unless the underlying source of law mandates monetary relief. There is no

        dispute that separation-of-powers and ultra vires claims do not allow

        monetary relief. So to strip the district court of jurisdiction of those claims

        would mean that no court could consider them.


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           B. Recent stay orders from the Supreme Court and this Court do not

        change that jurisdictional conclusion. Those orders all concluded that

        money damages likely were the relief at issue. Not so here. And to the extent

        that one of this Court’s orders concluded that the Tucker Act stripped the

        district court of jurisdiction over constitutional and ultra vires claims, that

        conclusion was wrong and would leave no court with jurisdiction to consider

        those claims—itself a constitutional problem.

           C. The district court was also wrong to conclude that it lacked

        jurisdiction under the APA for another reason—because, according to the

        court, the Nonprofits brought a broad, programmatic challenge to DHS’s

        management of CIGP. The court’s conclusion was unsupported by the APA’s

        text or caselaw. DHS’s discrete acts to eliminate CIGP are all “agency

        actions,” so are reviewable under the APA. That DHS eliminated CIGP

        across the board, as opposed to grant-by-grant, makes its actions more

        suited to APA review, not less.

           II. This Court should grant the Nonprofits preliminary relief. The

        district court denied the Nonprofits’ motion on jurisdictional grounds alone

        so did not evaluate the factors for a preliminary injunction (or stay under

        Section 705 of the APA). The undisputed facts in the record show that the

        Nonprofits satisfy each.




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           A. The Nonprofits are likely to succeed on the merits. DHS forfeited any

        response to the Nonprofits’ argument that terminating CIGP was arbitrary

        and capricious. That alone is grounds to find likelihood of success on the

        merits. What’s more, eliminating CIGP disregarded statutory directives to

        operate the program and regulatory limits on terminating grants. And

        because DHS has refused to spend congressionally appropriated funds, it

        has violated the separation of powers and acted ultra vires.

           B. Terminating CIGP has caused the Nonprofits irreparable harm.

        Among other things, the Nonprofits have had to cancel or pare down

        naturalization programs, lay off staff, turn away clients, and divert funds

        to fill the gaps left when DHS abruptly pulled the plug on CIGP. As a result,

        the Nonprofits are suffering reputational harm among their clients,

        subgrantees, and potential funders. And none of these harms can be

        remedied at final judgment. The Nonprofits do not have the financial ability

        to continue their naturalization programs. So a final judgment will either

        allow them the empty ability to seek reimbursement for grant work that

        they cannot do or continue their gutted naturalization programs. Either

        form of relief is no relief at all.

           C. Finally, the public interest and balance of the equities weigh in the

        Nonprofits’ favor. The public’s interest is in agencies following the law. And

        while the Nonprofits risk continuing irreparable harm, DHS will not suffer


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        from an order directing it to follow the law and spend congressionally

        appropriated funds.

                                  STANDARD OF REVIEW

           This Court reviews the denial of a preliminary injunction “for abuse of

        discretion, with factual determinations considered for clear error and legal

        conclusions considered de novo.” United States v. M/V Sanctuary, 540 F.3d

        295, 302 (4th Cir. 2008). Questions of subject-matter jurisdiction are

        reviewed de novo. See Rich v. United States, 811 F.3d 140, 144 (4th Cir.

        2015). Because there are no facts in dispute and the district court denied

        the preliminary injunction on jurisdiction alone, this Court’s review is de

        novo.

                                      ARGUMENT

        I. The district court has jurisdiction over this case.

           The Nonprofits seek equitable and injunctive relief—specifically, an

        order enjoining DHS from eliminating an entire congressionally funded

        program. The Nonprofits’ claims are squarely within the district court’s

        power   to   adjudicate.   DHS’s   arguments—and        the     district   court’s

        conclusion—that these claims must proceed in the Court of Federal Claims

        misconstrue (or ignore) controlling law, rely on a misreading of the

        Nonprofits’ claims, and ignore that the district court had independent

        jurisdiction to decide the Nonprofits’ separation-of-powers and ultra vires


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        claims. Emergency stay orders from the Supreme Court and this Court do

        not and cannot change that conclusion. And because the Nonprofits

        challenge discrete agency action, their claims are not broad programmatic

        attacks that cannot be reviewed under the APA.

              A. The district court has jurisdiction to decide the
                 Nonprofits’ APA, constitutional, and ultra vires claims,
                 and the Tucker Act does not apply.

           The Nonprofits’ APA claims are claims for prospective relief—not

        disguised claims for money damages—that may proceed in district court.

        And because the Court of Federal Claims cannot exercise jurisdiction over

        the Nonprofits’ separation-of-powers and ultra vires claims, those claims

        must remain in the district court.

                  1.    The court has jurisdiction to hear the Nonprofits’ APA
                        claims.

           As the Supreme Court has squarely held, the APA “authorize[s] judicial

        review of the administration of” forward-looking grant programs—the type

        of program at issue here—even if the relief ordered might require the

        disbursement of funds to the plaintiff. Bowen, 487 U.S. at 898 (quotation

        marks omitted). That is because the APA waives sovereign immunity for

        claims “seeking relief other than money damages,” unless another statute

        “expressly or impliedly forbids the relief” that is sought. 5 U.S.C. § 702. And

        judicial review under the APA is available if “there is no other adequate



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        remedy in a court.” 5 U.S.C. § 704. The Nonprofits’ APA claims seek

        prospective relief, not money damages; they are not breach-of-contract

        claims, so they are not precluded by the Tucker Act; and the Court of

        Federal Claims cannot grant the Nonprofits an adequate remedy.

           A. First, the Nonprofits seek “relief other than money damages.” 5

        U.S.C. § 702. Money damages are specific sums of money to compensate a

        plaintiff for harms already suffered. Bowen, 487 U.S. at 895 (quoting Md.

        Dep’t of Hum. Res. v. U.S. Dep’t of Health & Hum. Servs, 763 F.2d 1441,

        1446 (D.C. Cir. 1985)). Specific remedies like injunctive relief, on the other

        hand, “attempt to give the plaintiff the very thing to which he was entitled.”

        Id. That is all the Nonprofits seek: injunctive relief that allows them to

        continue carrying out their grant work under CIGP. See, e.g., JA581. To

        award the Nonprofits that relief, the Court would not need to order the

        payment of any money at all, and certainly not any money to compensate

        the Nonprofits for any past harms. That the requested injunctive relief

        might result in DHS paying money in the future does not transform these

        claims into claims for money damages. Bowen, 487 U.S. at 900-01. That is

        because money damages by definition cannot be forward-looking. Maine

        Cmty. Health Options, 590 U.S. at 326-27.

           Nor can the Nonprofits’ outstanding reimbursement requests be

        characterized as money damages. As part of eliminating CIGP, DHS


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        informed the Nonprofits that they would be reimbursed for all past work.

        See, e.g., JA234. So by DHS’s own telling, there are no outstanding

        reimbursements at issue. As a result, an injunction here could not give the

        Nonprofits an enforceable judgment for money.3

           B. Second, no other statute impliedly or expressly forbids the relief

        sought. DHS argued, and the district court concluded, that this is really a

        contract case about money damages, so under the Tucker Act the Nonprofits

        must sue in the Court of Federal Claims. DHS misunderstands the Tucker

        Act and misconstrues the Nonprofits’ claims.

           1. The Tucker Act waives sovereign immunity for “any claim against the

        United States founded either upon the Constitution, or any Act

        of Congress or any regulation of an executive department, or upon any

        express or implied contract with the United States, or for liquidated or

        unliquidated damages in cases not sounding in tort.” 28 U.S.C. § 1491.

        Cases under the Tucker Act must be brought in the Court of Federal Claims.

        Richardson v. Morris, 409 U.S. 464, 465 (1975) (per curiam). And because



           3 Even if the CIGP dismantling had not included full reimbursement,

        the Nonprofits would not be seeking money damages. Enjoining the CIGP
        elimination would give the Nonprofits the opportunity to seek
        reimbursement under their grant terms—which is what they request.
        JA632. DHS might deny or adjust a reimbursement under the operation of
        CIGP, and that might be the basis for a grantee to seek money damages.
        But that is not this case.

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        the Court of Federal Claims generally has no power to grant equitable relief,

        the Tucker Act applies only to claims for money damages. Id.

           As just explained, the Nonprofits do not seek, nor could they receive,

        money damages. They seek only prospective, equitable relief: the ability to

        carry out their grant programs going forward. See JA56-57. So the Tucker

        Act cannot apply.

           Even if there were some past-due sums at issue (setting aside DHS’s

        admission to the contrary), because the Nonprofits seek an injunction

        stopping the CIGP dismantling, the district court has jurisdiction under the

        APA “to award complete relief.” Bowen, 487 U.S. at 910. Bowen held that

        the ability to get some monetary relief under the Tucker Act does not

        “impliedly forbid[]” relief under Section 702 of the APA. See id. at 892 n.18.

        In Bowen, Massachusetts challenged HHS’s disallowance of certain

        expenses   under    the   Medicare    grant-in-aid   program.    Id.   at   887.

        Massachusetts sought the money it was owed and requested injunctive

        relief that would stop HHS from disallowing the category of expenses in the

        future. Id. The Court held that the district court did not award money

        damages when it reversed HHS’s disallowance decision because it did not

        enter a money judgment for past-due sums. Id. at 909. Importantly, the

        Court also held that even if the district court’s orders could be “construed in

        part as orders for the payment of money,” the district court still had


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        jurisdiction under the APA. Id. at 910. That is because Massachusetts also

        sought equitable injunctive relief and the district court’s APA jurisdiction

        “to award complete relief” was “not barred by the possibility that a purely

        monetary judgment may be entered” by the Court of Federal Claims. Id.

        And if there were any question of Bowen’s reach, Maine Community Health

        Options answered it: “The Tucker Act yields . . . when the Administrative

        Procedure Act . . . provides an avenue for relief.” 590 U.S. at 323-24.

           2. Instead of addressing that controlling precedent, DHS insists (and the

        district court concluded) that this is a contract case and that the Tucker Act

        provides the Court of Federal Claims with exclusive jurisdiction over all

        contract claims. DHS is doubly wrong.

           First, the Nonprofits’ grants are not contracts over which the Court of

        Federal Claims could exercise jurisdiction under the Tucker Act. An

        agreement with the Government is not an enforceable contract unless the

        agreement provides consideration—a direct, tangible benefit to the

        Government. St. Bernard Par. Gov’t v. United States, 134 Fed. Cl. 730, 735

        (2017), aff’d on other grounds, 916 F.3d 987 (Fed. Cir. 2019). Because

        procurement contracts provide “property or services for the direct benefit or

        use of the United States Government,” 31 U.S.C. § 6303(1) (emphasis

        added), they generally may form the basis of a breach-of-contract claim. But

        “the principal purpose” of grant agreements “is to transfer a thing of value


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        [to the recipient] to carry out a public purpose … instead of acquiring

        property or services for the direct benefit or use of the United States

        Government,” id. § 6304 (emphasis added). Although grant programs can

        advance U.S. policy interests, those are “generalized benefit[s]” to the

        Government and insufficient to show consideration. Am. Near E. Refugee

        Aid v. U.S. Agency for Int’l Dev., 703 F.Supp.3d 126, 133 (D.D.C. 2023).

           DHS insists that CIGP grants are contracts but has not attempted to

        show that they provide the necessary consideration—that is, a direct

        benefit—to be enforceable in the Court of Federal Claims. This case is

        similar to St. Bernard, which involved a program under which local

        governments agreed to remove “hazards created by natural disasters,” and

        would then be reimbursed by the government for allowed expenses. See St.

        Bernard Par. Gov’t, 134 Fed. Cl. at 732-33. When the parish sought

        reimbursement for its work, the agency disagreed with some of the costs

        and reduced the reimbursement. Id. at 734. The parish brought a breach-

        of-contract claim under the Tucker Act, but the Court of Federal Claims

        dismissed it (at the Government’s urging) for lack of jurisdiction. The court

        agreed with the Government that because the agreements did not provide a

        direct, tangible benefit to the government, there was no consideration and

        thus no enforceable contract. Id. So too here.




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           Second, even if the Nonprofits’ grants might be considered contracts in

        some sense, that does not matter for the district court’s jurisdiction.

        Addressing the Tucker Act, courts have used “contract” as shorthand to

        describe breach-of-contract claims properly brought in the Court of Federal

        Claims. But under the Tucker Act’s jurisdiction, the question is not whether

        there is a contract between the parties. The question is whether the

        agreement “provide[s] a substantive right to recover money-damages.”

        Rick’s Mushroom Serv., Inc. v. United States, 521 F.3d 1338, 1343 (Fed. Cir.

        2008).

           Take the Constitution as a parallel. See Transohio Sav. Bank v. Dir.,

        Off. of Thrift Supervision, 967 F.2d 598, 609, 613 (D.C. Cir. 1992) abrogated

        on other grounds as recognized in Perry Capital LLC v. Mnuchin, 864 F.3d

        591, 620 (D.C. Cir. 2017). Under the Tucker Act, the Court of Federal Claims

        has jurisdiction to hear “any claim against the United States founded . . .

        upon the Constitution.” 28 U.S.C. § 1491(a)(1). The courts, however, have

        not concluded that every constitutional claim must go to the Court of Federal

        Claims. Instead, they have rightly concluded that constitutional claims for

        the payment of money damages—under the Takings Clause, for example—

        must go before the Court of Federal Claims. Constitutional claims that

        allow only equitable relief—including separation-of-powers claims, like the




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        Nonprofits bring here—cannot be heard by the Court of Federal claims

        because they do not allow money damages.4

           3. To be sure, a plaintiff cannot plead around the Tucker Act by

        relabeling a breach-of-contract claim, for which money damages would be

        the appropriate remedy, as an equitable claim. For example, in Portsmouth

        Redevelopment & Housing Authority v. Pierce, the plaintiff originally sought

        a specific sum of money owed. 706 F.2d 471, 473 (4th Cir. 1983). This Court

        rejected the plaintiff’s attempt to amend “and instead ask[] the court to

        ‘direct an accounting of those sums owed.’” Id. And United States v. J & E

        Salvage Co. held that no matter what labels the parties gave the claims,

        they could be resolved only through application of black-letter contract law.

        55 F.3d 985, 988-89 (4th Cir. 1995) (“In addition to arguing at length that

        either a unilateral or mutual mistake of fact prevented the formation of a

        contract, the government refers repeatedly to questions about party ‘intent,’

        ‘meeting of minds,’ the ‘binding force of the contract,’ and the ‘terms of the

        sale,’ and relies heavily on contract cases.”).

           To “determine if the claim so clearly presents a disguised contract action

        that jurisdiction over the matter is properly limited” to the Court of Federal



           4 Indeed, the district courts have jurisdiction over even Takings Clause

        claims when only equitable relief is available. See E. Enters. v. Apfel, 524
        U.S. 498, 521-22 (1998) (per curiam).

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        Claims, courts apply a two-part test. See J & E Salvage Co., 55 F.3d at 988

        (quoting Megapulse, 672 F.2d at 968). Under Megapulse, whether a claim is

        a breach-of-contract claim requires (1) that the source of the legal right

        asserted be contractual (and not statutory, regulatory, or constitutional),

        and (2) that the appropriate relief is money damages. See 672 F.2d at 968.

        Both considerations cut decisively in favor of district court jurisdiction in

        this case.

           a. Courts determine the source of the rights at issue by “look[ing] to the

        true nature of the action.’” Katz v. Cisneros, 16 F.3d 1204, 1207 (Fed. Cir.

        1994). The question is whether a legal claim requires the court to analyze

        contract terms under contract law, see J & E Salvage Co., 55 F.3d at 988 or

        instead to examine constitutional provisions, statutes, and regulations. See

        Sharp v. Weinberger, 798 F.2d 1521 (D.C. Cir. 1986) (Scalia, J.). Put another

        way, the question is not whether a contract is the source of the relationship

        between the parties. See, e.g., J & E Salvage Co., 55 F.3d at 988.5 The

        question is whether the dispute is “entirely contained within the terms” of a

        contract. Id. (quoting Ingersoll-Rand v. United States, 780 F.2d 74, 78 (D.C.

        Cir. 1985) (emphasis added)).


           5 The Supreme Court has rejected this kind of surface-level analysis—

        holding that under the Tucker Act the controlling question is whether the
        Government is liable for money damages, not whether the Government has
        a legal obligation. See United States v. Bormes, 568 U.S. 6, 15-16 (2012).

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           Here, the Nonprofits challenge DHS’s termination of CIGP as

        unconstitutional, contrary to law, and insufficiently explained and

        reasoned. The sources of the rights in this case are the Constitution, the

        APA, two appropriations acts, the Homeland Security Act, and the Uniform

        Guidance regulations. Resolution of these claims requires the district court

        to address constitutional and statutory limits on DHS’s ability to

        unilaterally terminate an entire program for which Congress appropriated

        specific funds and to determine whether DHS violated the APA in doing so.

        The court does not need to interpret (or even look at) the grant terms. Nor

        does it need to apply contract law. In short, the Nonprofits’ “claims arise

        under a federal grant program and turn on the interpretation” of the

        Constitution, statutes, and regulations “rather than on the interpretation

        of an agreement negotiated by the parties,” so the Tucker Act does not apply.

        Md. Dep’t of Hum. Res., 763 F.2d at 1449.

           b. The type of relief the Nonprofits seek—prospective, equitable relief—

        also makes plain that this is not a contract case. The Nonprofits principally

        seek an order enjoining DHS from eliminating CIGP, which would allow

        them to continue to carry out their CIGP-funded programs and later seek

        reimbursement for completed work. Because any dispersal of funds would

        be contingent on the Nonprofits’ satisfying the grant terms in the future,

        and subject to adjustments (or even denial) under the CIGP’s terms, those


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        funds are not guaranteed and would not be the result of this Court’s order.

        Put another way, because CIGP created a “complex ongoing relationship,”

        the forward-looking injunctive relief that the Nonprofits seek is

        “nonmonetary relief to clarify future obligations”—relief “that the

        Administrative Procedure Act ‘is tailored’ to.” Maine Cmty. Health Options,

        590 U.S. at 327 (quoting Bowen, 487 U.S. at 904-05, 904 n.39). That DHS

        might have to disburse indeterminate amounts of money in the future, after

        the Nonprofits have completed their work on the grants, does not turn the

        Nonprofits’ claims from “an equitable action for specific relief” into an

        “action at law for damages.” Bowen, 487 U.S. at 893. That is because the

        Nonprofits do not seek money damages—again, specific, calculated sums

        “designed to compensate for completed labors,” which is “the Tucker Act’s

        heartland.” Maine Cmty. Health Options, 590 U.S. at 327. To categorize

        “strings-attached” grants, subject to “supervision and adjustment,” as

        money damages “would strain the meaning of the term to its breaking

        point.” Lummi Tribe of the Lummi Rsrv. v. United States, 870 F.3d 1313,

        1318-19 (Fed. Cir. 2017).

           To put it in practical terms, contrast a judgment in an artfully pleaded

        contact case to this case. In Portsmouth, for example, both a judgment for

        money damages and an injunction ordering the accounting of money owed

        would result in the same practical relief—payment of a set amount of money


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        under the terms of a specific contract. See 706 F.2d at 473. Likewise in

        Justice Scalia’s hypotheticals in dissent in Bowen, there would be no

        practical difference between a judgment for a specific amount of money

        damages and an injunction ordering a party to pay that same sum. See 487

        U.S. at 916. At the end of the day, both a money judgment and equitable

        relief would require the defendant to pay the same amount under the same

        terms of a contract. This case is quite different. If the Nonprofits’ claims are

        relegated to the Court of Federal Claims, the only relief they could obtain

        would be, at most, reimbursements not yet paid for work completed up until

        the date of the termination of the CIGP—funds that the government readily

        acknowledges it must pay in any event. By contrast, a judgment entered by

        the district court against DHS would prevent DHS from unlawfully

        eliminating the entire CIGP going forward.

           Despite all this, DHS has insisted that money damages, not equitable

        relief, are the only appropriate remedy here. But “it is no answer to suggest”

        money damages when a party’s interest is “in planning future programs”

        and seeking future reimbursements. Bowen, 487 U.S. at 906. And despite

        many opportunities to do so, DHS has never explained what the money

        damages might be. Surely, if this case were about money damages—specific

        past-due sums—DHS would have been able to easily calculate those




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        amounts and explain them to the district court (and the Nonprofits). It has

        not.

           Instead, DHS has pointed to the amount of future funds that remain on

        the Nonprofits’ grants to support its argument that this is a Tucker Act case.

        Opp. Br. 4. But that runs headlong into Bowen. So DHS argues that those

        funds cannot be the subject of equitable relief because, under the CIGP

        dismantling, the Nonprofits are not allowed to incur new costs going into

        the future. But the Nonprofits challenge DHS’s eliminating CIGP precisely

        because of the effect it has going into the future. DHS cannot escape the

        forward-looking injunctive relief at the heart of this case by saying that the

        unlawful act being challenged prohibits it.

           What’s more, in an attempt to write off the equitable relief that the

        Nonprofits actually seek, DHS contends that the desired equitable relief is,

        in reality, a request for specific performance. According to DHS, that proves

        that this is a breach-of-contract claim. That turns the second prong of

        Megapulse on its head. Whether equitable relief is specific performance (a

        contract-specific form of equitable relief) turns on whether the underlying

        claim is for a breach of contract. The mere fact that a plaintiff seeks forward-

        looking equitable relief, however, does not transform an APA claim into a

        breach-of-contract claim. If that were the rule, it is hard to see how a district

        court could have jurisdiction over any dispute involving a program under


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        which the government disburses funds—a result the Supreme Court

        rejected in Bowen, 487 U.S. at 905. In all events, “[s]pecific performance is

        by definition limited to the enforcement of contract duties,” Restatement

        (Second) of Conts., ch. 16, topic 3, intro. note (Am. L. Inst. 1981), and DHS

        has failed to point to what specific contract duties the Nonprofits’ requested

        injunction seeks to enforce.

           C. Third, the Court of Federal Claims cannot provide adequate relief.

        The Court of Federal Claims generally has no power to grant equitable

        relief. See Bowen, 487 U.S. at 905 n.40. The Court of Federal Claims has the

        statutory power to grant incidental injunctive relief under 28 U.S.C.

        § 1491(a)(2). But that relief is limited to “orders directing restoration to

        office or position, placement in appropriate duty or retirement status, and

        correction of applicable records.” Id. Those “certain equitable powers” are

        irrelevant “to actions involving review of an agency’s administration” of a

        grant program. Bowen, 487 U.S. at 905 n.40.

           Even if the Court of Federal Claims could have jurisdiction at an

        unknown future point for a claim challenging only a refusal to reimburse

        past-due sums, that does not mean the Nonprofits have an alternate

        adequate remedy now. Section 704 turns on whether there “is” an adequate

        remedy, not whether there could be in the future. See 5 U.S.C. § 704. And

        the Court of Federal Claims cannot “act in any fashion so long as the Federal


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        Government has not yet offset the disallowed amount from a future

        payment.” Bowen, 487 U.S. at 907. Even Justice Scalia’s dissenting opinion

        in Bowen agreed that the Court of Federal Claims cannot provide an

        adequate remedy when a grant recipient faces the “irreparable injury of

        either forgoing a reimbursable program or mistakenly expending . . . funds

        that will not be reimbursed.” Id. at 926 (Scalia, J., dissenting). That is

        precisely what the Nonprofits face here.

                  2.    The court has freestanding jurisdiction to hear the
                        Nonprofits’ constitutional and ultra vires claims.

           In all events, the district court had jurisdiction over the Nonprofits’

        freestanding constitutional and ultra vires claims for equitable relief.

        Sovereign immunity does not bar either category of claim. And because

        neither claim allows for money damages the Court of Federal Claims would

        not have jurisdiction to consider either.

           A. District courts have jurisdiction to grant equitable relief for

        constitutional violations. See, e.g., Bell v. Hood, 327 U.S. 678, 683-84 (1946).

        That freestanding jurisdiction “is the creation of courts of equity, and

        reflects a long history of judicial review of illegal executive action, tracing

        back to England.” Armstrong, 575 U.S. at 327. And although the Tucker Act

        grants the Court of Federal Claims jurisdiction over claims arising under

        the Constitution, see 28 U.S.C. § 1491, it does so only for constitutional



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        claims that seek money damages under money-mandating constitutional

        provisions—those     that   “can   fairly   be    interpreted     as   mandating

        compensation” from the government. United States v. Mitchell, 463 U.S.

        206, 217 (1983) (citation omitted).

           The Nonprofits claim that DHS’s elimination of CIGP violates the

        separation of powers. They seek equitable relief—an order enjoining DHS

        from shutting down the congressionally funded program. JA581. And, as the

        Federal Circuit has explicitly held, a separation-of-powers claim is not

        money-mandating, so cannot be heard by the Court of Federal Claims.

        LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995). So even if

        jurisdiction in the Court of Federal Claims is exclusive under the Tucker

        Act for the Nonprofits’ APA claims, their constitutional claim must remain

        with the district court.

           B. So too for the Nonprofits’ ultra vires claims. Ultra vires claims are

        nonstatutory, equitable claims alleging that the government acted beyond

        the bounds of its authority. Ancient Coin Collectors Guild v. CBP, 698 F.3d

        171, 179 (4th Cir. 2012). Sovereign immunity does not apply in an ultra

        vires claim when a plaintiff sues federal officials in their official capacities

        for equitable relief alleging that they had “exceeded the scope of their

        authority” or “acted unconstitutionally.” Strickland v. United States, 32

        F.4th 311, 363 (4th Cir. 2022). And because ultra vires claims are inherently


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        equitable, they do not allow for money damages. See Mannat v. United

        States, 48 Fed. Cl. 148, 154 (2000). As a result, the Court of Federal Claims

        does not have jurisdiction to hear ultra vires claims at all. Id.

               The Nonprofits’ ultra vires claims allege that DHS acted beyond its

        authority when it dismantled the CIGP. The Nonprofits do not seek money

        damages (which they could not receive), they seek heartland ultra vires

        relief—an order enjoining DHS from acting contrary to the Constitution,

        statutes, and regulations.

               C. The district court did not address any of this authority. Instead, it

        bootstrapped its reasoning onto its conclusion that because it likely lacked

        jurisdiction over the Nonprofits’ APA claims, it likely lacked jurisdiction

        over the constitutional and ultra vires claims too. But jurisdiction must be

        considered on a claim-by-claim basis. See, e.g., Jones v. Calvert Grp., Ltd.,

        551 F.3d 297, 305 (4th Cir. 2009), abrogated on other grounds by Fort Bend

        Cnty. v. Davis, 587 U.S. 541 (2019). And as the D.C. Circuit has correctly

        held, when the Tucker Act strips the district court of jurisdiction over

        breach-of-contract claims, the district court retains jurisdiction over

        constitutional (and statutory) claims, “even when the claims depend on the

        existence and terms of a contract with the government.” Transohio, 967 F.2d

        at 610 (citing Sharp v. Weinberger, 798 F.2d 1521 (D.C. Cir. 1986) (Scalia,

        J.).


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              B. Recent stay orders from the Supreme Court and panels of
                 this Court do not change the result.

           The Supreme Court’s stay order in Department of Education v.

        California does not change this analysis. In California, the plaintiffs

        challenged under the APA the termination of various individual grants,

        which the district court enjoined. 145 S.Ct. at 968. The Supreme Court’s

        stay order concluded that the Department of Education was likely to

        succeed in showing that the district court “lacked jurisdiction to order the

        payment of money under the APA.” Id. The Court acknowledged Bowen’s

        holding that district courts retain jurisdiction under the APA to order

        equitable relief, even when that relief will result in payment of money. Id.

        But, echoing Justice Scalia’s concern from Bowen about artful pleading, the

        Court concluded that the district court had likely ordered enforcement of “a

        contractual obligation to pay money.” Id. (quoting Great-West Life &

        Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212 (2002)).

           California does not (and cannot) control here. As an initial matter, a stay

        order does not “make or signal any change” to existing law because it “is not

        a decision on the merits.” See Merrill v. Milligan, 142 S.Ct. 879, 879 (2022)

        (Kavanaugh, J., concurring). So California could, at most, provide this

        Court guidance in a parallel case—as it did in a case challenging the same

        grant terminations as California. See Am. Ass’n of Colls. for Tchr. Educ. v.



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        McMahon, No. 25-1281, 2025 WL 1232337, at *1 (4th Cir. 2025) (applying

        California in a one-sentence stay of a district-court order). But the

        Nonprofits’ claims are far from the claims in California. As already

        explained (at 30), the Nonprofits do not seek to enforce any contractual

        obligations. Contra California, 145 S.Ct. at 968. Nor do they seek any past-

        due reimbursements. Contra id. And where the plaintiffs in California

        brought only APA claims, the Nonprofits here bring freestanding

        constitutional and ultra vires claims. As just explained (at 32-34), the

        district court has jurisdiction over those claims no matter the holding under

        the APA—a point the Government has (rightly) conceded in a different case.

        See Aids Vaccine Advoc. Coal. v. U.S. Dep’t of State, No. 25-cv-00400, 2025

        WL 752378, at *7 n.6 (D.D.C. Mar. 10, 2025). In all, Bowen and the text of

        the APA and Tucker Act still control this case—all of which make plain that

        the district court has jurisdiction and was wrong to conclude otherwise.

           Likewise, this Court’s stay order in Sustainability Institute v. Trump,

        decided on an expedited basis—without the benefit of full briefing—does not

        change the outcome here. See No. 25-1575, 2025 WL 1587100 (4th Cir.

        2025). There, a panel of this Court concluded that plaintiffs’ APA claims

        were substantively the same as those in California. Id. at *2. For reasons

        just explained, that is not the case here.




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           In addition, the stay panel concluded that the district court likely lacked

        jurisdiction over the plaintiffs’ constitutional and ultra vires claims because

        it read the Tucker Act as precluding district court jurisdiction over equitable

        constitutional and ultra vires claims. Id. (relying on a Supreme Court quote

        that explained that “the express provision of one method of enforcing a

        substantive rule suggests that Congress intended to preclude others”

        (quoting Armstrong, 575 U.S. at 327-28)). Respectfully, that conclusion was

        wrong. Armstrong did not address constitutional claims; the Court reasoned

        that Congress intended to foreclose equitable relief when it provided the

        “sole remedy” for violations of Medicaid’s requirements. 575 U.S. at 328. But

        the Tucker Act does not provide any remedy—sole or otherwise—it merely

        grants jurisdiction over certain claims for which money damages are the

        remedy. See United States v. Testan, 424 U.S. 392, 398 (1976). And “where

        Congress intends to preclude judicial review of constitutional claims[,] its

        intent to do so must be clear.” Webster v. Doe, 486 U.S. 592, 603 (1988). So

        the Tucker Act cannot strip the district courts of their equitable power to

        enjoin unlawful executive action. To conclude otherwise would leave

        plaintiffs with no forum to challenge ultra vires actions or agency actions

        that violate constitutional provisions that are not money-mandating. Like

        the D.C. Circuit, this Court should reject that extreme reading of the Tucker

        Act. See Tootle v. Sec’y of Navy, 446 F.3d 167, 169 (D.C. Cir. 2006).


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           This Court should not read the Tucker Act so expansively for another

        reason—the constitutional-avoidance doctrine. Any statute that could be

        read “to deny any judicial forum for a colorable constitutional claim” would

        raise a “serious constitutional question.” Webster, 486 U.S. at 603 (quoting

        Bowen v. Mich. Acad. of Fam. Physicians, 476 U.S. 667, 681 n.12 (1986)).

              C. The CIGP termination is a reviewable agency action
                 under the APA.

           The district court incorrectly concluded, with minimal analysis, that it

        likely lacked jurisdiction because the Nonprofits’ APA claims amounted to

        “a wholesale, programmatic challenge to the Government’s operation and

        management of the CIGP.” JA748. But the Nonprofits challenge DHS’s

        discrete acts to eliminate CIGP, not their general operation or management

        of the program. Those specific acts are “agency action” and the district court

        has subject matter jurisdiction over them under 5 U.S.C. § 702.6

           1. “[T]he APA’s ‘basic presumption’ [is] that anyone injured by agency

        action should have access to judicial review.” Corner Post, Inc. v. Bd. of

        Governors of Fed. Rsrv. Sys., 603 U.S. 799, 824 (2024) (quoting Abbott Labs.



           6 DHS did not respond to the Nonprofits’ showing that terminating CIGP

        was a “final agency action,” nor did the district court address the issue. See
        JA747-748. In any case, terminating the CIGP is “final” as it represents the
        culmination of DHS’s decisionmaking process, it determines rights and
        obligations, and legal consequences flow therefrom. See Bennett v. Spear,
        520 U.S. 154, 178 (1997).

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        v. Gardner, 387 U.S. 136, 140 (1967)). “‘[A]gency action’ includes the whole

        or a part of an agency rule, order, license, sanction, relief, or the equivalent

        or denial thereof. . . .” 5 U.S.C. § 551(13). It is a broad concept that “cover[s]

        comprehensively every manner in which an agency may exercise its power.”

        Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 478 (2001).

           DHS “exercise[d] its power,” id., by terminating the CIGP altogether and

        refusing to spend appropriated funds. Specifically, DHS eliminated CIGP in

        three steps: first, the Noem Memo; second, an email announcing the across-

        the-board freeze of all CIGP funds; and third, a mass termination email and

        identical form letters, sent to all CIGP participants. Each is a reviewable

        agency action.

           The Noem Memo is an agency action because it is an “order”: “the whole

        or a part of a final disposition . . . of an agency in a matter other than rule

        making. . . .” 5 U.S.C. § 551(6). “In other words, an order is virtually any

        authoritative agency action other than a rule.” N.Y. Stock Exchange LLC v.

        SEC, 2 F.4th 989, 992 (D.C. Cir. 2021). The Noem Memo authoritatively

        ordered DHS components to freeze all grant funds touching on immigration.

        JA229. Likewise, the CIGP freeze and termination letters are orders

        because they definitively stopped the payment of CIGP reimbursements.

        See JA230, JA237. The freeze and termination letters are agency action for

        an independent reason: they are “denial[s]” of “relief.” As “relief” includes


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        “an agency . . . grant of money,” 5 U.S.C. § 551(11)(A), the freeze and

        termination letters (which revoked grants of money) are denials of relief.7

           In short, each element of DHS’s termination of CIGP is an order or a

        denial of relief. Both “of those categories involve circumscribed, discrete

        agency actions, as their definitions make clear.” Norton v. S. Utah

        Wilderness All., 542 U.S. 55, 62 (2004) (SUWA). DHS’s actions can thus be

        challenged under the APA. See id.

           That plain, textual reading does not change simply because the decision

        to terminate CIGP applied equally to all grantees. An agency decision

        “applying some particular measure across the board”—like DHS’s funding

        freeze and subsequent termination of all CIGP funding—can “of course be

        challenged under the APA.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 890

        n.2 (1990).

           2. Instead of addressing the APA’s text, the district court simply

        concluded that the Nonprofits “seek to mount a wholesale, programmatic

        challenge to the Government’s operation and management of the CIGP.”

        JA748. But the cases cited by the district court do not support that

        conclusion. The Nonprofits do not challenge the “continuing (and thus

        constantly changing) operations of” programs administered by DHS, Lujan,


           7 The freeze and termination letters may also constitute a “sanction,”

        which includes an agency’s “withholding of relief.” 5 U.S.C. § 551(10)(B).

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        497 U.S. at 890, or DHS’s “[g]eneral deficiencies in compliance” with broad

        mandates, SUWA, 542 U.S. at 66. They do not raise “generalized grievances

        asking [a court] to improve an agency’s performance or operations,” City of

        New York v. U.S. Dep’t of Defense, 913 F.3d 423, 431 (4th Cir. 2019), nor

        claims of agency “mismanagement” of CIGP, Nat’l Veterans Legal Serv.

        Prog. v. U.S. Dep’t of Def., 990 F.3d 834 (4th Cir. 2021). Instead, the

        Nonprofits ask the Court to stop DHS from illegally ending CIGP by

        vacating and setting aside the discrete actions that terminated the program:

        the Noem Memo, the freeze letters, and the termination email and letters.

        Other circuits have concluded that similar claims involve reviewable

        discrete agency action. See, e.g., New York v. Trump, 133 F.4th 51, 67-68

        (1st Cir. 2025) (funding freezes across multiple agencies were “categorical

        in nature” and thus discrete agency action); Hispanic Affs. Project v. Acosta,

        901 F.3d 378, 388 (D.C. Cir. 2018) (distinguishing Lujan where plaintiffs

        challenged “cabined and direct” “identified transgression” of statutes and

        regulations). And the Supreme Court found no barrier to reviewing DHS’s

        termination of a different program. See DHS v. Regents of the Univ. of Cal.,

        591 U.S. 1, 9 (2020). This Court should do the same.

        II. The Nonprofits should be granted preliminary relief.

           The district court denied the Nonprofits’ motion for preliminary relief

        solely on jurisdictional grounds and did not decide whether they met the


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        preliminary relief standard. But “what questions may be taken up and

        resolved for the first time on appeal is one left primarily to the discretion of

        the courts of appeals, to be exercised on the facts of individual cases.” Cnty.

        Bd. of Arlington Cnty., Va. v. Express Scripts Pharmacy, Inc., 996 F.3d 243,

        254 (4th Cir. 2021) (citation omitted). This Court can reach and resolve

        those questions, which were fully briefed below and which the Nonprofits

        brief again here. Id. “[J]udicial economy” and the “unique circumstances” of

        this case—the Nonprofits are experiencing irreparable harm that will be

        compounded by additional delays—weigh heavily in favor of resolution of

        the jurisdictional questions and preliminary injunction motion in one

        opinion. See id.

           In APA cases, courts may “issue all necessary and appropriate process”

        to “preserve status or rights pending conclusion of the review proceedings”

        when doing so is “necessary to prevent irreparable injury.” 5 U.S.C. § 705.

        Likewise, a preliminary injunction can “protect the status quo” and “prevent

        irreparable harm” while the Court “render[s] a meaningful judgment on the

        merits.” United States v. South Carolina, 720 F.3d 518, 524 (4th Cir. 2013)

        (citation omitted). A preliminary injunction is appropriate if plaintiffs

        “demonstrate that (1) they are likely to succeed on the merits; (2) they will

        likely suffer irreparable harm absent an injunction; (3) the balance of

        hardships weighs in their favor; and (4) the injunction is in the public


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        interest.” League of Women Voters of N.C. v. North Carolina, 769 F.3d 224,

        236 (4th Cir. 2014). The standard for relief under Section 705 is the same

        as for a preliminary injunction. See, e.g., Texas v. EPA, 829 F.3d 405, 424,

        435 (5th Cir. 2016).

              A. The Nonprofits are likely to succeed on the merits of
                 their claims because the CIGP termination violated the
                 APA, the separation of powers, and was ultra vires.

           As an initial matter, in the district court DHS did not respond to the

        Nonprofits’ arguments that the CIGP dismantling was arbitrary and

        capricious because it was neither “reasonable” nor “reasonably explained.”

        Ohio v. EPA, 603 U.S. 279, 292 (2024) (internal quotation marks and

        citation omitted); see generally Opp. Br. 20. So DHS forfeited the argument.

        See Brickwood Contractors, Inc. v. Datanet Eng’g, Inc., 369 F.3d 385, 399

        (4th Cir. 2004). This Court does not need to go any further to decide that

        the Nonprofits are likely to succeed on the merits.

           The Nonprofits also prevail because DHS’s termination of CIGP

        contravenes multiple statutes, regulations, and the separation of powers.

        See 5 U.S.C. § 706(2)(A)-(C). And because DHS “‘is not doing the business

        which the sovereign has empowered [it] to do,’” its actions are ultra vires.

        Ancient Coin Collectors, 698 F.3d at 179 (quoting Larson v. Domestic &

        Foreign Com. Corp., 337 U.S. 682, 689 (1949)).




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                  1.    The Nonprofits are likely to succeed on their APA
                        claims.

           Appropriations Acts: The CIGP termination is “not in accordance with,”

        5 U.S.C. § 706, the appropriations laws that Congress passed for fiscal years

        2023 and 2024, which required Defendants to spend specific amounts of

        money for the CIGP. These acts unambiguously appropriate specific sums

        to DHS “for the Citizenship and Integration Grant Program.” Consolidated

        Appropriations Act of 2023, Pub. L. No. 117-328, 136 Stat. 4459, 4745 (Dec.

        29, 2022); Further Consolidated Appropriations Act of 2024, Pub. L. No.

        118-47, 138 Stat. 460, 612 (Mar. 23, 2024). This statutory mandate requires

        DHS to award and disburse the congressionally appropriated funds. See

        Train v. City of N.Y., 420 U.S. 35, 41 (1975). But DHS terminated CIGP.

        And as a result, it is refusing to spend much of the appropriated funding.

        DHS does not have the authority to override Congress’s determination of

        what money should be spent. See id. And if there were any question, the

        Impoundment Control and Antideficiency Acts make it clear—an agency

        cannot unilaterally withhold congressionally appropriated funding. See 2

        U.S.C. §§ 683-684 (appropriated funds “shall be made available for

        obligation” unless the President transmits a special message to Congress

        and   Congress    rescinds   the   appropriation);   31   U.S.C.   §   1301(a)




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        (“Appropriations shall be applied only to the objects for which the

        appropriations were made except as otherwise provided by law.”).

           Uniform Guidance regulations: The CIGP dismantling also contradicts

        the Uniform Guidance regulations adopted by DHS. 2 C.F.R. §§ 200 et seq.

        The Uniform Guidance allows DHS to terminate grants in only specific

        defined instances. 2 C.F.R. § 200.340(a). And the Uniform Guidance does

        not give DHS the power to terminate entire grant programs. See id. Yet

        DHS argues that it is allowed to cancel any (and apparently every) grant “to

        the extent authorized by law, if an award no longer effectuates the program

        goals or agency priorities.” Id. § 200.340(a)(4). DHS is wrong.

           First, the Guidance allows termination only “if an award no longer

        effectuates the program goals or agency priorities.” Id. § 200.340(a)(2)

        (2020) and § 200.340(a)(4) (2024) (emphasis added).8 That applies if the

        grantee is no longer satisfying agency goals or priorities, not when an

        agency changes the program goals or its priorities. OMB’s explanation of

        the 2020 revision to the Uniform Guidance makes that clear: “[I]f additional

        evidence reveals that a specific award objective is ineffective at achieving

        program goals, it may be in the government’s interest to terminate the


           8 The Office of Management and Budget revised its guidance for federal

        financial assistance in 2024. Guidance for Federal Financial Assistance, 89
        Fed. Reg. 30046 (Apr. 22, 2024). The revisions went into effect in October
        2024, so apply to FY24 grants. Id. at 30046.

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        Federal award.”9 Guidance for Grants and Agreements, 85 Fed. Reg. 49506,

        49507 (Aug. 13, 2020). There would be no need for “additional evidence” if

        an agency could simply change its priorities and cancel all grants deemed

        out of step with those new priorities. OMB was clear: one of the purposes of

        Section 200.340 is that “agencies are not able to terminate grants

        arbitrarily.” Id. at 49509.

           Second, even if the agency could change priorities on a whim and cancel

        grants, DHS has provided no evidence of any change in CIGP goals or DHS

        priorities. See, e.g., JA234. An agency’s “statement that there was a ‘change

        in agency priorities,’ without explanation, is not informative in the least; it

        is merely a reiteration of the decision” the agency already made. Int’l Union,

        United Mine Workers of Am. v. U.S. Dep’t of Lab., 358 F.3d 40, 44 (D.C. Cir.

        2004).

           Finally, the Uniform Guidance allows termination only if it is

        “authorized by law.” 2 C.F.R. § 200.340(a)(4). As just explained, DHS is not

        authorized to terminate CIGP; under the governing appropriations acts, it

        is required to keep it running.




           9 OMB’s 2024 revisions similarly state that agencies can “terminate an

        award in the circumstances described in paragraph (a)(2) in the prior
        version of the guidance.” Id., 89 Fed. Reg. at 30089.

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           Homeland Security Act: When creating DHS, Congress forbade the

        department from “diminish[ing] or neglect[ing]” any of its “functions . . . not

        related directly to securing the homeland” without being authorized in

        advance by “a specific explicit Act of Congress.” 6 U.S.C. § 111(b)(1)(E). At

        the same time, Congress tasked USCIS with “promoting instruction and

        training on citizenship responsibilities for [noncitizens] interested in

        becoming naturalized citizens of the United States.” Id. § 271(f)(2). Since

        2009, Congress has appropriated funds to CIGP for that exact purpose. DHS

        has not pointed to any “specific explicit Act of Congress” that allows it to

        “diminish[] or neglect[]” its citizenship and naturalization promotion duties.

        If anything, as already explained, the annual appropriation is “a specific

        explicit Act of Congress” that requires CIGP to continue.

           2. Terminating the CIGP also violates the constitutional principle of

        separation of powers. The Constitution vests exclusive power over federal

        spending with Congress. U.S. Const., art. I, § 8, cl. 1; see also id., art. I, § 9,

        cl. 7 (“No Money shall be drawn from the Treasury, but in Consequence of

        Appropriations made by Law”). Put simply, Congress has “exclusive power

        over the federal purse.” U.S. Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d

        1339, 1346 (D.C. Cir. 2012) (Kavanaugh, J.) (internal quotation marks

        omitted). And because “[t]here is no provision in the Constitution that

        authorizes the President to . . . repeal statutes,” Clinton v. City of New York,


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        524 U.S. 417, 438 (1998), federal agencies have no discretion over whether

        to follow Congress’s direction to spend appropriated funds.

           Given that Congress appropriated funds for CIGP and DHS is “tak[ing]

        measures incompatible with the expressed or implied will of Congress,” the

        executive branch’s power “is at its lowest ebb.” Youngstown Sheet & Tube

        Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring). While the

        executive branch may have “policy reasons . . . for wanting to spend less

        than the full amount appropriated by Congress for a particular project or

        program,” it “does not have unilateral authority to refuse to spend the

        funds.” In re Aiken Cnty., 725 F.3d 255, 261 n.1 (D.C. Cir. 2013)

        (Kavanaugh, J.); see also City & Cnty. of San Francisco v. Trump, 897 F.3d

        1225, 1235 (9th Cir. 2018) (same).

           3. The CIGP dismantling is also “in excess of statutory jurisdiction,

        authority, or limitations.” 5 U.S.C. § 706(2)(C). Agencies “are creatures of

        statute” and are therefore subject to the limits prescribed by Congress. Nat’l

        Fed’n of Indep. Bus. v. OSHA., 595 U.S. 109, 117 (2022) (per curiam).

        Agencies “‘literally ha[ve] no power to act’ except to the extent Congress

        [has] authorized.” Marin Audubon Soc’y v. FAA, 121 F.4th 902, 912 (D.C.

        Cir. 2024) (first alteration in original) (quoting FEC v. Ted Cruz for Senate,

        596 U.S. 289, 301 (2022)). When an agency exceeds its statutory

        authorization, this Court must vacate and set aside that agency action. 5


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        U.S.C. § 706(2)(C). DHS points to nothing to suggest that it may entirely

        end a program for which Congress appropriated funding and which is

        central to Defendants’ statutory mandate of citizenship and naturalization

        promotion. In the absence of statutory authorization for their actions,

        Defendants’ dismantling of the CIGP is unlawful.

                  2.    The Nonprofits are likely to succeed on their
                        constitutional and ultra vires claims.

           As explained above (at 32-34), if the Court decides that it cannot review

        the Nonprofits’ claims under the APA—for example, if the Court concludes

        that terminating the CIGP is not a discrete agency action—the Court has

        inherent equitable jurisdiction separate from the APA to consider the

        Nonprofits’ freestanding claims that DHS’s termination of the CIGP

        violates the separation of powers and is ultra vires. See Armstrong, 575 U.S.

        at 327. And for the reasons just outlined, DHS has no power to unilaterally

        terminate the CIGP, a program for which Congress has continued to

        appropriate funds. That is yet another reason that the Nonprofits are likely

        to succeed on the merits.

              B. The Nonprofits are suffering irreparable harm.

           At oral argument the district court acknowledged that the Nonprofits

        “made [their] point on irreparable harm” and that “there’s a pretty solid

        record on that point.” JA672. That is because the Nonprofits have shown



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        that not only is irreparable harm “likely in the absence of an injunction,”

        Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008), it is already

        happening. The CIGP termination is effectively forcing the closure of the

        Nonprofits’ naturalization programs, causing the loss of core employees,

        subgrantees, and clients, and damaging their reputations. All of these

        harms rise to the level of irreparable. And none can “be fully rectified by the

        final judgment after trial.” Mt. Valley Pipeline, LLC v. 6.56 Acres, 915 F.3d

        197, 216 (4th Cir. 2019) (internal quotation marks and citation omitted).

           1. Each of the harms the Nonprofits are suffering would alone be enough

        to grant preliminary relief. Combined, there can be no question.

           First, agency action that “unquestionably make[s] it more difficult for

        [organizations] to accomplish their primary mission” constitutes irreparable

        harm. League of Women Voters of U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir.

        2016). For the Nonprofits, naturalization programs are critical to carrying

        out their primary missions. See, e.g., JA523. CIGP funds the majority—and

        sometimes all—of each Nonprofit’s naturalization program, see, e.g., JA534

        (76%); JA505 (75%); JA542 (100%). For example, as a result of the CIGP

        termination, ESLC will soon be forced to terminate its entire citizenship

        program, JA535, so too for HIAS PA, JA549. This “major reduction, or

        outright elimination, of critical . . . services” constitutes irreparable harm.




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        Nat’l Lifeline Ass’n v. FCC, No. 18-1026, 2018 WL 4154794, at *1 (D.C. Cir.

        Aug. 10, 2018).

           Irreparable harm does not require the total loss of a party’s program or

        project—“undue delay” suffices. E. Tenn. Nat. Gas Co. v. Sage, 361 F.3d 808,

        828 (4th Cir. 2004). To the extent some Nonprofits can continue to provide

        reduced    naturalization    services    to   their   clients    without   CIGP

        reimbursements, their efforts will be unduly delayed by the staff and

        program cuts caused by the CIGP termination. Without a full complement

        of English-language and civics classes, sufficient instructors for those

        classes, and enough attorneys to prepare clients to apply and interview for

        naturalization, the Nonprofits will be forced to fashion “wasteful and

        inefficient” offerings to continue offering some services. See id.

           In addition, the CIGP termination has forced the Nonprofits to divert

        already-scarce resources, causing additional “unrecoverable financial

        harms.” See Mt. Valley Pipeline, 915 F.3d at 219. Despite the near-total loss

        of funding for their naturalization programs, the Nonprofits are ethically

        obligated to continue providing some naturalization services because they

        have attorney-client relationships they must uphold. See, e.g., JA577 (MIRA

        must cover 174 open naturalization cases); JA515 (CARECEN must cover

        140 open cases). As a result, they have also been forced to do emergency

        fundraising, drawing staff away from their ordinary jobs and harming other


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        aspects of their operations. See, e.g., JA506; JA562; JA578; JA536; JA522.

        The Nonprofits have been using unrestricted general funds that would

        normally support other programs to cover these ongoing costs. Even if CIGP

        is restored, the Nonprofits will never recover these already-spent general

        funds because CIGP reimbursements are restricted to specific activities,

        which do not include emergency fundraising or other stop-gap work.

           Second, “the loss of customers and employees” also constitutes harm

        “that c[an] not be remedied” by a final judgment. Air Evac EMS, Inc. v.

        McVey, 37 F.4th 89, 103 (4th Cir. 2022). As the impact of the CIGP

        elimination continues to compound since the termination announcement in

        late March, the Nonprofits have had to lay off staff members and stop

        accepting new naturalization clients. See e.g. JA514; JA528; JA552. The

        Nonprofits may never be able to rehire those specific employees, who will be

        looking for other jobs. And the ability to hire new staff down the road does

        nothing to remedy the irreparable loss of “valuable institutional

        knowledge.” Beacon Assocs. v. Apprio, Inc., 308 F.Supp.3d 277, 289 (D.D.C.

        2018).

           Third, the Nonprofits also face—and in some cases, are already

        suffering—a “loss of good will” due to the elimination of CIGP and its knock-

        on effects. See Real Time Med. Sys. v. PointClickCare Techs., 131 F.4th 205,

        239 (4th Cir. 2025). So even if the Nonprofits’ programs could survive, they


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        are suffering a “significant and irreparable” injury because “the community

        connections they have developed are likely to erode.” See HIAS, Inc. v.

        Trump, 985 F.3d 309, 326 (4th Cir. 2021).

           Plaintiffs have spent years, and sometimes decades, building up

        reputations with underserved and hard-to-reach immigrant communities,

        prospective funders, and subgrantee organizations, reputations which they

        are rapidly losing. Without the ability to seek CIGP reimbursement for their

        work, Plaintiffs have terminated subgrantee relationships, see, e.g., JA554;

        JA563-564, and lost their clients’ trust because of cancelled services. See,

        e.g., JA523; JA563; JA552; JA579-580. This harm is especially severe given

        that the communities the Nonprofits serve are hard-to-reach immigrant

        communities with limited English proficiency. Cf. Woonasquatucket River

        Watershed Council v. USDA, No. 1:25-cv-00097, 2025 WL 1116157, at *23

        (D.R.I. Apr. 15, 2025) (finding irreparable reputational harm where funding

        freeze would result in loss of trust with Native American tribe by reinforcing

        history of broken promises between U.S. government and tribes).

           But the Nonprofits’ images are not just being tarnished among the

        populations they serve. The CIGP termination and its financial impacts on

        the Nonprofits have led funders to question the reliability of the Nonprofits’

        services and even the viability of their entire organizations. See, e.g., JA516;

        JA565. So, for example, a donor declined to fund HIAS PA because of


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        concerns over the CIGP termination. JA552. And funders are “questioning

        what the ESLC ‘did’ to cause the loss of funding.” JA537.

           2. If the CIGP termination is enjoined only after a final judgment, that

        will not ameliorate these harms. After all, “when a temporary delay in

        recovery somehow translates to permanent injury . . . it [can] qualify as

        irreparable.” Mt. Valley Pipeline, 915 F.3d at 218. That is the case here.

        Unlike the plaintiffs in California, 145 S.Ct. at 969, the Nonprofits do not

        have the financial ability to continue their naturalization programs during

        litigation. So if the Nonprofits ultimately prevail in this case, their victory

        would be pyrrhic absent preliminary relief. An order months (or more) down

        the road allowing them to continue their CIGP programs will mean little

        when they have already laid off the staff that run the programs, abandoned

        or turned away the clients that rely on them, cancelled subgrants, and, in

        some instances, shut down the programs entirely.10




           10 And FY2024 Nonprofits may lose the ability to get meaningful relief

        altogether if DHS reobligates FY2024 CIGP funding before a court orders
        preliminary relief preventing them from doing so. “In cases involving
        government expenditures, ‘once the relevant funds have been obligated, a
        court cannot reach them in order to award relief.’ Any transfer, re-
        allocation, or re-obligation of these funds would be an irreparable loss.”
        Climate United Fund v. Citibank N.A., No. 1:25-cv-00698, 2025 WL 842360,
        at *9 (D.D.C. Mar. 18, 2025) (quoting City of Houston v. Dep’t of Hous. &
        Urb. Dev., 24 F.3d 1421, 1426–27 (D.C. Cir. 1994)).

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           DHS has insisted that these harms could be remedied by monetary relief

        at the end of the case. See Opp. Br. 25. Not so. As already explained (at 19-

        20), the Nonprofits do not seek monetary relief. So the most they could get

        is the right to seek reimbursement under CIGP. But because they cannot

        maintain their naturalization programs in the interim, a final judgment

        would give them the futile right to seek reimbursement for work they cannot

        perform. Put simply, preliminary relief is “necessary to prevent the

        irreparable injury of either forgoing a reimbursable program or mistakenly

        expending . . . funds that will not be reimbursed,” Bowen, 487 U.S. at 926

        (Scalia, J., dissenting).

              C. The public interest and balance of the equities tip
                 decisively in the Nonprofits’ favor.

           When the government defends a lawsuit, determination of the public

        interest and balance of the equities merge. Nken v. Holder, 556 U.S. 418,

        435 (2009). These combined factors overwhelmingly favor an injunction. The

        public has a substantial interest in “seeing its governmental institutions

        follow the law.” Roe v. Dep’t of Defense, 947 F.3d 207, 230-31 (4th Cir. 2020),

        as amended (Jan. 14, 2020). DHS itself describes the public’s interest in

        overcoming the “real and perceived barriers to naturalization [that] often

        prevent individuals from pursuing naturalization”: “naturalization is a key

        milestone in the civic integration of immigrants,” and preparing to meet



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        naturalization requirements “encourage[s] civic learning,” “build[s] a strong

        foundation upon which immigrants can fully integrate into American

        society,” and allows immigrants to “gain tools to become successful and meet

        their responsibilities as United States citizens.”11

           Additionally, “a court should ‘[take] account of the equities in fashioning

        interim relief, focusing specifically on the concrete burdens that would fall’

        on the party seeking the injunction.” Roe, 947 F.3d at 231. As explained

        above, without preliminary relief, the Nonprofits will continue to suffer

        immediate and irreparable harm, including loss of staff, shuttering of

        programs, and reputational harm. Their students will lose out on months or

        years of progress in their language and civics studies, and their clients’

        ability to naturalize—and the rights that come along with it, including

        voting—will be delayed.

           On the other side of the scale, agencies like DHS do not suffer harm from

        “an injunction that merely ends an unlawful practice.” Open Cmtys. All. v.

        Carson, 286 F.Supp.3d 148, 179 (D.D.C. 2017) (quoting Rodriguez v.

        Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)). Any “injury” to DHS from

        “being prevented from enacting its preferred policy” “is, to some extent,

        inevitable in the preliminary injunction context.” See New York v. DHS, 969


           11  Grant Program Impact, U.S. Citizenship and Immigr. Servs.,
        https://perma.cc/WZM4-EGLF.

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        F.3d 42, 87 (2d Cir. 2020). Such “inevitable” harm does not tip the scales

        here, especially when DHS has failed to provide anything other than vague

        or nonsensical justifications for its actions. See, e.g., JA234 (terminating

        CIGP grants because of a wholly unexplained change in policy); JA229

        (expressing concerns that programs like CIGP—that help lawful permanent

        residents become citizens—somehow encourage “illegal immigration”).

                                      CONCLUSION

           The judgment of the district court should be reversed and this Court

        should either enter a preliminary injunction or stay under Section 705 of

        the APA, or instruct the district court to do so.




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                                               Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

           In accordance with Federal Rule of Appellate Procedure 32(g)(1), I

        certify that this brief:

           (i) complies with the type-volume limitation of Rule 32(a)(7)(B) because

        it contains 12,828 words including footnotes and excluding the parts of the

        brief exempted by Rule 32(f); and

           (ii) complies with the typeface requirements of Rule 32(a)(5) and the type

        style requirements of Rule 32(a)(6) because it has been prepared using

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        points or larger.



                                                  /s/ Bradley Girard
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                             CERTIFICATE OF SERVICE

           I certify that on June 25, 2025 this corrected brief was filed using the

        Court’s CM/ECF system. All participants in the case are registered CM/ECF

        users and will be served electronically via that system.

                                              /s/ Bradley Girard
